          Case 19-60341             Doc 1          Filed 05/15/19                   Entered 05/15/19 18:20:12                Desc Main
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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 EASTERN DISTRICT OF TEXAS
                                                                                                                      Check if this is an
 Case number (if known):                                     Chapter       11                                         amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     Oleum Operating Co., L.C.

2.   All other names debtor used
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           7      5      –      2      7        4     6         9   0     3

4.   Debtor's address                  Principal place of business                                      Mailing address, if different from principal
                                                                                                        place of business

                                       1000 E. Marshall Ave.                                            PO Box 1263
                                       Number         Street                                            Number     Street


                                                                                                        P.O. Box



                                       Longview                            TX        75601              Longview                      TX      75606
                                       City                                State     ZIP Code           City                          State   ZIP Code


                                                                                                        Location of principal assets, if different
                                       Gregg                                                            from principal place of business
                                       County



                                                                                                        Number     Street




                                                                                                        City                          State   ZIP Code

5.   Debtor's website (URL)

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




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Debtor Oleum Operating Co., L.C.                                                         Case number (if known)

7.   Describe debtor's business        A. Check one:

                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above


                                       B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in
                                            15 U.S.C. § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                       C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes




8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                         Chapter 7
                                            Chapter 9
                                            Chapter 11. Check all that apply:
                                                            Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                            insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                            4/01/22 and every 3 years after that).

                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                              debtor is a small business debtor, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return or if
                                                              all of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                              Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                              form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                              Rule 12b-2.

                                            Chapter 12

9.   Were prior bankruptcy                  No
     cases filed by or against
     the debtor within the last 8           Yes. District                                        When                      Case number
     years?                                                                                               MM / DD / YYYY

                                                 District                                        When                      Case number
     If more than 2 cases, attach a
                                                                                                          MM / DD / YYYY
     separate list.
                                                 District                                        When                      Case number
                                                                                                          MM / DD / YYYY



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Debtor Oleum Operating Co., L.C.                                                          Case number (if known)

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                   District                                                    When
    List all cases. If more than 1,                                                                                           MM / DD / YYYY
    attach a separate list.                        Case number, if known


                                                   Debtor                                                      Relationship

                                                   District                                                    When
                                                                                                                              MM / DD / YYYY
                                                   Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                            days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                            any other district.

                                            A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                            district.


12. Does the debtor own or                  No
    have possession of any                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal                    needed.
    property that needs
                                                 Why does the property need immediate attention?                 (Check all that apply.)
    immediate attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                      safety.
                                                      What is the hazard?

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                      related assets or other options).

                                                      Other


                                                 Where is the property?
                                                                               Number      Street




                                                                               City                                      State        ZIP Code

                                                 Is the property insured?

                                                      No
                                                      Yes. Insurance agency

                                                               Contact name

                                                               Phone


              Statistical and adminstrative information
13. Debtor's estimation of             Check one:
    available funds                        Funds will be available for distribution to unsecured creditors.
                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                           creditors.



Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 3
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Debtor Oleum Operating Co., L.C.                                                         Case number (if known)

14. Estimated number of                     1-49                               1,000-5,000                               25,001-50,000
    creditors                               50-99                              5,001-10,000                              50,001-100,000
                                            100-199                            10,001-25,000                             More than 100,000
                                            200-999

15. Estimated assets                        $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

16. Estimated liabilities                   $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 05/15/2019
                                                      MM / DD / YYYY

                                          X /s/ Micheal W. Snell                                    Micheal W. Snell
                                              Signature of authorized representative of debtor      Printed name

                                          Title Managing Member

18. Signature of attorney                X /s/ Callan C. Searcy                                                   Date     05/15/2019
                                            Signature of attorney for debtor                                              MM / DD / YYYY

                                            Callan C. Searcy
                                            Printed name
                                            Searcy & Searcy, P.C.
                                            Firm name
                                            P.O Box 3929
                                            Number          Street



                                            Longview                                                   TX                   75606
                                            City                                                       State                ZIP Code


                                            (903) 757-3399                                             ccsearcy@jrsearcylaw.com
                                            Contact phone                                              Email address
                                            24075523
                                            Bar number                                                 State




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 Fill in this information to identify the case:
 Debtor name        Oleum Operating Co., L.C.

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number                                                                                                               Check if this is an
 (if known)                                                                                                                amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders                                                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claims resulting from inadequate collateral value places the
creditor among the holders of the 20 largest unsecured claims.


 Name of creditor and          Name, telephone         Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing              number, and email       (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip        address of              debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                          creditor                professional          unliquidated,   secured, fill in total claim amount and
                               contact                 services, and         or disputed     deduction for value of collateral or setoff to
                                                       government                            calculate unsecured claim.
                                                       contracts)
                                                                                             Total           Deduction       Unsecured
                                                                                             claim, if       for value       claim
                                                                                             partially       of
                                                                                             secured         collateral
                                                                                                             or setoff
1   Jerry & Antonia Suire                              Lawsuit               Contingent                                       $1,794,791.00
    c/o Chadwick W. Collings                                                 Unliquidated
    68031 Capital Trace Row                                                  Disputed
    Mandeville, LA 70471



2   Price, Preston & Susan                             Lawsuit - disputed    Contingent                                         $359,162.00
    PO Box 701                                         ORRI interest         Unliquidated
    Mandeville, LA 70470                                                     Disputed




3   Louisiana Dept of                                  Severance - Oil                                                          $227,764.75
    Revenue
    PO Box 4936
    Baton Rouge, LA 70821



4   AKSM, LC                                           Loan                                                                     $200,000.00
    PO Box 1272
    Longview, TX 75606




5   Haller, Steven G.                                  Lawsuit - dispute     Contingent                                         $179,581.00
    19341 10th St., Ste. B                             ORRI interest         Unliquidated
    Covington, LA 70433                                                      Disputed




Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                      page 1
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Debtor       Oleum Operating Co., L.C.                                           Case number (if known)
             Name


 Name of creditor and          Name, telephone       Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing              number, and email     (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip        address of            debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                          creditor              professional          unliquidated,   secured, fill in total claim amount and
                               contact               services, and         or disputed     deduction for value of collateral or setoff to
                                                     government                            calculate unsecured claim.
                                                     contracts)
                                                                                           Total           Deduction       Unsecured
                                                                                           claim, if       for value       claim
                                                                                           partially       of
                                                                                           secured         collateral
                                                                                                           or setoff
6   Haller, Paula                                    Lawsuit - dispute     Contingent                                         $179,581.00
    2356 S. Lafayette St.                            ORRI interest         Unliquidated
    Denver, CO 80210                                                       Disputed




7   Truco Partnership, Ltd.                          well expenses                                                              $48,807.12
    PO Box 320
    Overton, TX 75684




8   Kearney National, Inc.                           returned              Contingent                                           $41,335.20
    c/o Bank of America,                             check/dispute on      Disputed
    Attn Teresa Grafton                              title
    PO Box 830308
    Dallas, TX 75283

9   Lefebvre Family LLC                              returned              Contingent                                           $40,060.21
    c/o Gerald Lefebvre                              check/dispute on      Disputed
    no address                                       title




10 Sempra Energy                                     returned              Contingent                                           $33,068.20
   Production Co.                                    check/dispute on      Disputed
   8235 Douglas Ave., Ste.                           title
   525
   Dallas, TX 75225

11 Eastar Investments, Inc.                          well expense                                                               $28,555.02
   PO Box 320
   Overton, TX 75684




12 CLARIANT                                          Vendor                                                                     $19,554.90
   CORPORATION
   Dept 2203
   Carol Stream, IL 70601



13 Wiener III, Jacques L.                            returned              Contingent                                           $18,698.06
   333 Texas, Ste. 2375                              check/dispute on      Disputed
   Shreveport, LA 71101                              title




Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 2
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Debtor       Oleum Operating Co., L.C.                                          Case number (if known)
             Name


 Name of creditor and         Name, telephone       Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing             number, and email     (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip       address of            debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                         creditor              professional          unliquidated,   secured, fill in total claim amount and
                              contact               services, and         or disputed     deduction for value of collateral or setoff to
                                                    government                            calculate unsecured claim.
                                                    contracts)
                                                                                          Total           Deduction       Unsecured
                                                                                          claim, if       for value       claim
                                                                                          partially       of
                                                                                          secured         collateral
                                                                                                          or setoff
14 LISKOW & LEWIS APLC                              Vendor                                                                     $12,311.33
   701 Poydras St, Ste
   5000
   New Orleans, LA 70139



15 Jefferson Davis Electric                         vendor                                                                     $11,304.81
   PO Drawer 1229
   Jennings, LA 70546




16 PCS FERGUSON, INC.                               Vendor                                                                     $10,868.48
   P O Box 732131
   Dallas, TX 75373-2131




17 REAGAN POWER &                                   Vendor                                                                      $7,064.48
   COMPRESSION LLC
   Dept AT 952461
   Atlanta, GA 31192-2461



18 CJS Resources, LLC                               returned              Contingent                                            $6,186.73
   233 Grove Oak                                    check/dispute on      Disputed
   Arnaudville, LA 70512                            title




19 TOTAL PUMP & SUPPY                               Vendor                                                                      $6,069.60
   LLC
   P O Box 548
   Carencro, LA 70520



20 Wilbert, Catherine                               returned              Contingent                                            $6,010.00
   Melacon                                          check/dispute on      Disputed
   58145 Randolphs Dr.                              title
   Plaquemine, LA 70764




Official Form 204     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 3
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                                           UNITED STATES BANKRUPTCY COURT
                                               EASTERN DISTRICT OF TEXAS
                                                    TYLER DIVISION
    IN RE:                                                                         CHAPTER       11
    Oleum Operating Co., L.C.



    DEBTOR(S)                                                                      CASE NO



                                            LIST OF EQUITY SECURITY HOLDERS

 Registered Name of Holder of Security                             Class of Security          Number Registered          Kind of Interest
 Last Known Address or Place of Business                                                                                 Registered

 Micheal W. Snell                                                  99%
 PO Box 1263
 Longview, TX 75606

 Shelby Snell                                                      1%
 PO Box 1263
 Longview, TX 75606

                                         DECLARATION UNDER PENALTY OF PERJURY
                                       ON BEHALF OF A CORPORATION OR PARTNERSHIP

    I, the                   Managing Member                         of the                        Corporation
named as the debtor in this case, declare under penalty of perjury that I have read the foregoing list and that it is true and correct to the
best of my information and belief.




       5/15/2019
Date:__________________________________                            /s/ Micheal W. Snell
                                                        Signature:________________________________________________________
                                                                   Micheal W. Snell
                                                                   Managing Member
